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                                        #:946


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     UNITED STATES OF AMERICA
10
                              UNITED STATES DISTRICT COURT
11
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
     UNITED STATES OF AMERICA,                No. 2:24-cr-00091-ODW
13
               Plaintiff,                     [PROPOSED] ORDER DESIGNATING A
14                                            CLASSIFIED INFORMATION SECURITY
                     v.                       OFFICER AND ALTERNATE CLASSIFIED
15                                            INFORMATION SECURITY OFFICERS
     ALEXANDER SMIRNOV,
16
               Defendant.
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19
          Having read and considered the Government’s 18 U.S.C. App. 3,
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     § 2 Notice and Memorandum of Points and Authorities in Support
21
     Thereof, the Court is aware that this case may involve classified
22
     information.   Federal law explicitly provides that federal courts
23
     must have security procedures for the handling of classified
24
     information.   See Classified Information Procedures Act, Pub. L. 96-
25
     456 § 9, 94 Stat. 2025 (1980).
26
          IT IS HEREBY ORDERED that pursuant to Paragraph 2 of the Revised
27
     Security Procedures Established Pursuant to Pub L. 96-456, 94 Stat.
28
     2025, by the Chief Justice of the United States for the Protection of
     Case 2:24-cr-00091-ODW   Document 48-1 Filed 03/01/24   Page 2 of 2 Page ID
                                       #:947


1    Classified Information, the Court HEREBY APPOINTS W. Scooter Slade,

2    Supervisory Security Specialist, for the position of Classified

3    Information Security Officer in the above-captioned matter.           The

4    Court FURTHER APPOINTS Jennifer H. Campbell, Daniel O. Hartenstine,

5    Daniella M. Medel, Matthew W. Mullery, and Harry J. Rucker as

6    Alternate Classified Information Security Officers in the above-

7    captioned matter.

8    IT IS SO ORDERED.

9

10
      DATE                                    HONORABLE OTIS D. WRIGHT II
11                                            UNITED STATES DISTRICT JUDGE
12

13   Presented by:
14
     CHRISTOPHER M. RIGALI
15   Assistant Special Counsel
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